                Case: 1:25-cv-01468 Document #: 4-5 Filed: 02/14/25 Page 1 of 7 PageID #:48
                                                                                                                                                JOB: 8727676
                                                                                                                  CLIENT: Stagnaro, Saba & Patterson, Co., L.P.A.


AFFIDAVIT OF SPECIAL PROCESS SERVER

CASE: 1:21 -cv-00238


COURT:       United States District Court

PLAINTIFF / PETITIONER: PHILIP R. McHUGH

DEFENDANT / RESPONDENT: FIFTH THIRD BANCORP, et al.



I, William Carlson [License 115-002378], being duly sworn on oath state that I am over 18 years of age and not a party to this suit and that I am
registered employee of a Illinois Private Detective Agency "Carlson Investigations, Inc. [License 117-001360)", licensed by the Illinois Department
of Financial and Professional Regulation and therefore authorized, pursuant to the provisions of Chapter 735 ILCS, Code of Civil Procedure, Section
5/2-202, Illinois Compiled Statutes, to serve process in the above cause.

Further, I William Carlson effected service on C T Corporation System Statutory Agent of RHR International, LLP. in the following manner listed
below.

CORPORATE SERVICE effected on Wednesday April 19, 2023, 2:55 pm By leaving a copy of the Subpoena to Produce Documents, Information, or
Objects or to Permit Inspection of Premises in a Civil Action with Exhibit A with Intake Specialist: Derrick Hackett who was authorized to accept
service on behalf of C T Corporation System Statutory Agent of RHR International, LLP. Service was effected at 208 S. LaSalle St #814, Chicago,
IL 60604.

Derrick Hackett is described as follows:          Male                      30's                              African American
                                                 Gender                     Age                                    Ethnicity



Under penalties of perjury as provided by law pursuant to section 1-109 of the Code of Civil Procedure, the undersigned certifies that the
statements are true and correct, except as to matters therein stated to be on information and belief and such matters the undersigned certifies as
aforesaid that he/     erily believes same to be true.



                                                                             Subscribed & sworn to before me by the affiant who is personally known to me.




                                                                                                              ()ri
                                             April 21, 2023

William Carlson [License 115-002378]          Date
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                                                                                                              ~-J\:fLY'_~~._------
                                                                                                                                      I   ~    April 21, 2023

                                                                                                                                               Date




 [ AfJency Licit 117-001360 ]                            5 Sherma     Ave. Suite         06 Evanston, it 60201                               T 847.491    182


                                                                                                                                          Exhibit 4
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